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                                                        U.S. Department of Justice

                                                        CHANNING D. PHILLIPS
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     September 28, 2021
VIA EMAIL

Dan DuBois
DuBois Law


       Re:     United States v. Warmus
               Case No. 21-cr-417-PLF

Dear Mr. DuBois:

       This is to memorialize the following preliminary discovery sent you via email on
September 14, 2021 and September 24, 2021, via USAFX which contained the following
materials:

       Three surveillance videos of Warmus inside the Capitol
       Face image search reports
       Five videos of Warmus outside the U.S. Capitol
       Identification Report of Warmus inside the U.S. Capitol
       Source of information reports describing Warmus’ residence and notes
       Records checks, including criminal history and vehicle information
       Log reports for Arrest
       Tipster reports and notes
       Email Communication with Verizon
       U.S. Capitol Police Internal Affairs Reports


       The file names for these disclosures are listed in Attachment A to this letter.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
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facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

       I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Monica A. Stump
                                                      Monica A. Stump
                                                      Assistant United States Attorney



Enclosure(s)




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                           ATTACHMENT A

 Within Folder Daniel Warmus Disclosures 09.24.2021
 Serial 0000002_1A0005755_0000001.pdf
 Serial 0000006_1A0000002_0000001.pdf
 Serial 0000013.pdf
 Serial 0000021_1A0000015_0000001.pdf
 Serial 0000021_1A0000015_0000004.pdf
 Serial 0000021_1A0000015_0000005.pdf
 Serial 0000021_1A0000015_0000007.pdf
 Serial 0000027.pdf
 Serial 0000027_1A0000019_0000001.pdf
 Serial 0000032_1A0000026_0000001.pdf
 Serial 0000037.pdf
 Serial 0000037_Import.pdf
 Serial 0000049.pdf
 Serial 0000052_1A0000048_0000001.pdf
 Serial 0000057.pdf
 Serial 0000057_1A0000051_0000001.pdf
 Serial 0000057_1A0000051_0000002.pdf
 IMG_0191 SENSITIVE
 IMG_0192 SENSITIVE
 IMG_0186 SENSITIVE
 IMG_0188 SENSITIVE
 IMG_0185 SENSITIVE
 USC 02 Rotunda South 2021-01-06 14h26min19s000ms HIGHLY SENSITIVE
 USC 02 Rotunda Interior Door 2021-01-06 14h15min00s000ms
 HIGHLY SENSITIVE
 USC 02 RotundaNorth 2021-01-06 14h20min01s463ms HIGHLY SENSITIVE

 Within Folder DOJCB_001 2021.09.10 Capitol Breach
Discovery:
   DOJCB_001.zip
   DOJCB_001_Index.zip
   DOJCB_001_Index.xlsx




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